Case 17-10679-LSS Doc 86 Filed 07/21/17 Page 1 of 18

UNITED STATES BANKRUPTCY COURT
DISTRICT OF Delaware

In re Mad Catz, Ine, Case No. _17-10679

MONTHLY OPERATING REPORT
For the Period 6/01/2017 through 6/30/2017

File with Court and submit copy to United States ‘Trustee within 20 days after end of month

Submit copy of report to any official committee appointed in the case.

ment Explanation

REQUIRED DOCUMENTS eee Attached = Attached
eo ursements
Certificates of Insurance:
Workers Com tion
P
General Liabili
Vehicle
Other:
tvidence of Debtor in Possession Bank Accounts
Tax Escrow Account
General O ting Account
Other: ae
Other:

 

I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the documents attached
are true and correct to the best of my knowledge and belief.

—_——_ 1/20[11

David Carickhoff - Chapter 7 Trustee Date

 

* Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

FORM IR
(9/99)

 
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Mad Catz, Inc., Case No. 17-10679 (KG)
Narrative of monthly operations

On May 31, 2017, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered the Order Pursuant to 11 U.S.C. §$ 105, 363 and 721 (A)
Authorizing the Chapter 7 Trustee To Operate the Debtor’s Business on Limited Basis Effective
as of April 1, 2017, and (B) Granting Related Relief [Docket No. 43] (the “Section 721 Order’).

Pursuant to the Section 721 Order, the Chapter 7 Trustee retained as independent
contractors Nathan Hill (former IT professional for Mad Catz, Inc.), Maia Waki Perez (former
director of accounting and finance for Mad Catz, Inc.), and 4 Network Consulting (IT
consultants) to assist the Trustee in, among other things, preserving and collecting data necessary
to administer the Debtor’s estate. A Monthly Staffing Report has been or will be filed with the
Bankruptcy Court detailing the hours worked and the services provided by the independent
contractors.

On June 19, 2017, the Chapter 7 Trustee conducted an auction for the Debtor’s inventory
and intellectual property. On June 21, 2017, the Chapter 7 Trustee sought approval of the
highest and best offers for the inventory and the intellectual property. On the same date, the
Bankruptcy Court entered two orders approving the sale of certain assets: (1) Docket No. 71 -
approving the sale of the Debtor’s inventory to Click Entertainment Ltd. (which sale closed on
July 5, 2017); and (2) Docket No. 72 - approving the sale of the Debtor’s intellectual property to
Device Expert Inc. (which sale closed on June 28, 2017). The Chapter 7 Trustee also vacated the
Debtor’s headquarters in San Diego on June 27, 2017.
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Mad Catz, Inc.

Cash Receipts and Disbursements
For the Period (06/01/17 - 06/30/2017)

Beginning Cash Balance 28,941.97
Wells Fargo - Turnover of Funds 965,913.36
Turnover of Funds - Other -

Collection of Accounts Receivable 2,926.81
Miscellaneous Refunds -

Sale of Assets 510,000.00
Non-Estate Funds (Bidder Escrowded Deposits) 318,000.00
Miscellaneous Cash Collections a 1,082.01
TOTAL CASH RECEIPTS 1,797,922.18

Payments to Secured Creditor

Third Party Services Provided (59,069.25)
Independent Contractors (8,627.50)
Bank and Technology Service Fee (463.80)
TOTAL CASH DISBURSEMENTS (68,160.55)
Net activity for the month ___1,729,761.63

Ending Cash Balance ___1,758,703.60

 

 
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{ Asset reference(s)

 

 

 

 

 

 

 

 

 

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Form 2 Page: 1
Cash Receipts And Disbursements Record
Case Number: 17-10679 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, NLA.
Account: ~——n*'7766 - Checking Account
TaxpayerID#: **-***0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
4 2 3 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
04/28/17 {23} United Material Handling Inc Reference UMH01272017 Dated 1/27/17 1229-000 16,952.04 16,952.04
04/2817} — (23)_—‘(| Innex Inc Invoice 833176 Dated 2/1/17 Amount 1229-000 5,127.51 22,079.55
$5457.40~Credit Amount to Reduce Payment
_ Co 7$329.89 CM 235862 .
04/28/17 {1} D&H Distributing Co. Inv 831557 PO 1025925C Dated 1/6/17 _—(| 1221-000 _ 140.96 | 22,220.51
04/28/17 {i} Petra INV 832526 Dated 1/19/17 - $3605.70~INV 1221-000 6,612.70 28,833.21
ef a . wonnwuw | 832584 Dated 1/20/17 - $3007.00 7 .
04/28/17 {1} SHOPKO INV 831977 Dated 1/10/17 $82.28~INV 1221-000 9,669.05 38,502.26
831978 Dated 1/10/17 $411.40~INV 831979
Dated 1/10/17 $1293.17~INV 832048 Dated
1/18/17 $2,274.68~INV 832049 Dated 1/18/17
$3761.83~INV 832525 Dated 1/19/17
en he $863.95~INV 832821 Dated 1/25/17 $981.71
04/28/17 Kroger INV 832550 Dated 1/20/17 $2039.00~Credit 1221-000 1.00 38,503.26
. - coe ong Memo Dated 3/10/17 -$2,038.00~~
05/0317}  {24}_——‘| Mad Catz UK entity Payment for IT services related to server 4229-000 1,974.00 40,477.26
te nee open . we vane access a
05/04/17 To Account #"*""*7767 Unliened receipt from Mad Catz UK entity for 9999-000 1,974.00/ 38,503.26
_. payment of IT services
05/04/17 101 Marsh & McLennan Agency LLC invoice 102438 -- Cammercial Insurance - 2420-000 6,396.25 32,107.01
Federal Ins. Co. Policy No. 35818662 -
on ssa ane eine wcewenel ennne oe payment for May, June and July
05/04/17 102 Marsh & McLennan Agency LLC Invoice 102444 -- Commercial Insurance - 2420-000 - 14,077.50 18,029.51
Lioyd’s Policy No, M20495 - Cargo -- payment
pose ee sovmneanee|nennicn nnn for May, June and July .
0047 |} | PETRA _|STOP PAYMENT BY PAYOR 1221-000] 661270) | tac
Subtotals : $33,864.56 $22,447.75

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Form 2 Page: 2
Cash Receipts And Disbursements Record
Case Number: 17-10679 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: wwrer=7 766 - Checking Account
Taxpayer ID#: **-"**0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
1 2 3 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
05/10/17 {2} Guiliano Miller & Co Balance of Petty Cash at Company Office 1129-000 88.95 11,505.76
05/10/17 {1} Kroger Inv 833496 $2440.80~Inv 833946 4221-000 1,520.00 13,025.76
$1307.34~Credit inv 701-460149
($20.77)~Credit Inv 701-463546
($928.11)~Credit Inv 701-461834 ($1278 .46} 7
05/1717} (21) | ATTM Settlement Fund Settlement Payment - AT&T Mobility Wireless |1149-000 133.11 43,158.87
Data Services Sales Tax Litigation (Class
i - | Action)
05/17/17 {4} Innex Inc Inv #834513 ~ $1679.20~inv #834658 - 1221-000 2,938.60 16,097.47
$1259 40~ ee |
O5N 7/17 {3} Barney & Barney Refund from Final Audit of Work Comp policy [1129-000 8,180.00 24,277.47
— 2015-16~Policy No 71737418~
05/17/17 {4} Kroger Deposit Adj to Correct Amount - Dep 1221-000 0.80 24,278.27
- #100008-1 on 5/10/17 ; /
05/26/17 {i} MENWER Unknown - Remitance information available at {1221-000 91.47 24,369.74
7 oo meijervendornet.com a
05/26/17 {3} Sterling health Services COBRA Remittance for April 2017 1129-000} 1,029.68 25,399.42
05/26/17 {1} Kroger - Inv 834575 dated 2/27/17 {1221-000 1,605.12 27,004.54
05/31/17 Rabobank, NLA. Bank and Technology Services Fee 2600-000 36.57 26,967.97
06/09/17 {1} | Meijer Unknown Invoice oo __ {1121-000} 452.04) 27,420.01
06/12/17 {23} County of San Diego Notation on Check Stub: Payment issued as 1249-000 52.33 27,472.34
result of Court action - Case #SCD188034 -
a ee Acct No 258090
06/12/17 {1} | Magnell Associates Inc Inv 825877 ($3419.70) with various 4221-000 1,650.77 ~ 29,123.11
| adjustments ; ne
Subtotals : $17,742.87 $36.57
0 Asset reference(s) Printed: 07/13/2017 01:56 PM =——-V.13.25
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Form 2 Page: 3
Cash Receipts And Disbursements Record
Case Number:  1/-10679 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: weer“ 766 - Checking Account
Taxpayer ID#: **-***0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
1 2 3 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
06/12/17 Nektova Group LLC Bidder Deposit 7 1290-000 50,000.00 79,123.14
06217} —1}_—_—| Krooger 5/30/17 Deposit Error - Dep 100014-1 1221-000 200.00 79,323.11
06/12/17 | Nektova Group LLC Reversed Deposit 100018 1 Bidder Deposit-  |1290-000 -50,000.00 29,323.11
Wrong Acct - Moved to Acct x68 __ 7 -
06/23/17 {4} Wells Fargo Transfer of funds in Debtor's pre-petition bank |1129-000 965,913.36 995,236.47
accounts (includes A/R collected post-petition
-- $815,402.46 from acct xx0201 and
ee a $150,510.90 from account xx7520)
06/23/17 103 4 Network Consulting __ _[invoice 2406 - IT Services -- See DktNo43 2420-000 . 675.00 994 561.47
06/23/17 104 Nathan Hill IT Services ($65/hr at 100.5 hours through 2420-000 6,617.50 987,943.97
April, May and June 23) and expenses of $85
for hard drive -- See Dkt No. 43
06/26/17 {17} Device Expertinc __ Balance of Winning Bid - IP Purchase _ 1129-000 495,900.00 _. 1,483 843.97
06/27/17 {1} Meijer — Unknown - No Description _ 1221-000 624.00 1,484,467.97
06/28/17 {23} Sterling Health Services Inc COBRA Remittance for March 2017~Plans: 1249-000 1,029.68 1,485,497.65
| MES Vision & UHC Signature 7 oo
08/28/17 From Account #***""*7768 Device Expert Inc's deposit in connection with |9999-000 14,100.00 : 1,499,597 .65
oe - oo purchase of IP (purchase price was $510,000)
06/28/17 105 California Cross Dock Inc. Invoices MCO0024ST, MCO025ST, MCO026ST, |2410-000 58,394.25 1,441,203.40
MC0027 - April, May and June storage, plus
a out charges) coed.
06/29/17 106 Nathan Hill IT Services ($65/nr at 6 hours - after June 23) -|2420-000 390.00 1,440,813.40
co _{See OktNo. 43 He
06/29/17 107 Maia Waki Perez Consulting re Accounts Receivable and related |3731-000 1,620.00 1,439,193.40
financial issues (18 hours at $90/nr) - See Dkt
Subtotals : $1,477,767.04 $67,696.75

Asset reference(s)

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Fo rm 2 Page: 4
Cash Receipts And Disbursements Record
Case Number:  17-10673 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: m*7 766 - Checking Account
Taxpayer ID#: **-***0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
1 2 3 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To/ Received From Description of Transaction T-Code $ $ Account Balance
serene soe sans No. 43 ee Me cinereeantieeee ee
06/30/17 Rabobank, N.A. Bank and Technology Services Fee 2600-000 463.80 1,438,729.60
ACCOUNT TOTALS 1,529,374.47 90,644.87 $1,438,729.60
Less: Bank Transfers 14,100.00 1,974.00
Subtotal 1,515,274.47 88,670.87
Less: Payments to Debtors 0.00
NET Receipts / Disbursements $1,515,274.47 $88,670.87

G Asset reference(s)

 

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Form 2 Page: 5
Cash Receipts And Disbursements Record

Case Number: 1717-10679 GK Trustee: David Carickhoff :
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: m7 767 - Unliened Receipts Account

Taxpayer ID#:  **-"**0365
Period Ending: 06/30/17

Blanket Bond: $5,000,000.00 (per case limit)
Separate Bond: N/A

 

 

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1 2 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
05/04/17 From Account #******7766 Unliened receipt from Mad Catz UK entity for | 9999-000 1,974.00 1,974.00
payment of IT services

ACCOUNT TOTALS 1,974.00 0.00 $1,974.00

Less: Bank Transfers 1,974.00 0.00

Subtotal 0.00 0.00

Less: Payments to Debtors 0.00

NET Receipts / Disbursements $0.00 $0.00

 

G Asset reference(s) Printed: 07/13/2017 01:56 PM —-V.13.25
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Form 2 Page: 6
Cash Receipts And Disbursements Record
Case Number:  17-10679 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: ““"*7768 - Bidder Deposit Account
Taxpayer ID #:  **-***0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
1 2 3 4 5 6 7
Trans. {Ref #}/ Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
06/08/17 RTV Solutions Bidder Deposit 1280-002 2,223.00 __ 2,223.00]
06/08/17 World International Trading / Bidder Deposit 1280-002 7,652.30 9,875.30
Mercantil Commerce a
06/12/17 Nektova Group LLC Bidder Deposit - 1280-002 50,000.00, 59,875.30
06/12/17 Logitech Inc / Bank of America NYC _ | Bidder Deposit 1280-002 1,100.00 60,975.30
06/12/17 Performance Designed Products Bidder Deposit 1280-002 2,490.00 63,465.30
_ LLC ;
06/1 2/17 {17} Device Expert Inc / Wells Fargo Device Expert - Deposit for purchase of IP 1129-000 14,100.00) 77,565.30
06/12/17 Anker Tech Co Ltd / Fantasia Bidder Deposit 1280-002 30,000.00 107,565.30
Trading ene renee
06/12/17 Nasouri Bros Inc / Wells Fargo Bidder Deposit 1280-002 43,782.90 | 151,348.20
06/12/17 Hyper Microsystems Inc / BMO Bidder Deposit 1280-002 50,000.00 201,348.20
senna Harris a
06/12/17 {12} Click Entertainment Limited / Bidder Deposit 1129-000 238,000.00 439,348.20
ccna} Barclays .
06/21/17 900 RTV Solutions Refund Bidder Deposit - Received 6/8/17 1280-002 -2,223.00 437,125.20
. [See Dep Adj #1) a .
06/21/17 901 World International Trading LLC Refund Bidder Deposit - Received 6/8/17 4280-002 -7 652.30 429 472.90
(See Dep Adj #2) ve fect tet ne tetera .
06/21/17 902 Performance Designed Products Refund Bidder Deposit - Received 6/12/17 1280-002 -2,490.00 426,982.90
ows LLC 7 (See Dep Adj #4) a | . ont
06/21/17 303 Nasouri Bros Inc Refund Bidder Deposit - Received 6/12/17 1280-002 -43,782.90 383,200.00
es Ce a (See Dep Adj #7) 7 on .
06/21/17 904 Hyper Microsystems Inc Refund Bidder Deposit - Received 6/12/17 1280-002 ~50,000.00 333,200.00
: ; (See Dep Adj #8) _
Subtotals : $333,200.00 $0.00

G Asset reference(s)

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Asset reference(s)

 

 

Form 2 Page: 8
Cash Receipts And Disbursements Record
Case Number:  17-10679 GK Trustee: David Carickhoff
Case Name: MAD CATZ, INC. Bank Name: Rabobank, N.A.
Account: ~™~"*7 768 - Bidder Deposit Account
Taxpayer ID#: **-***0365 Blanket Bond: $5,000,000.00 (per case limit)
Period Ending: 06/30/17 Separate Bond: N/A
1 2 3 4 5 6 7
Trans. {Ref #} / Receipts Disbursements Checking
Date Check # Paid To / Received From Description of Transaction T-Code $ $ Account Balance
Net Receipts : 1 847,374.47
Less Other Noncompensable Items : 80,000.00 Net Net Account
OO TOTAL - ALL ACCOUNTS Recei j
L Net Estate - $1.767 374.47 eipts Disbursements Balances
Checking # ******7766 1,515,274.47 88,670.87 1,438,729.60
Checking # ******7767 0.00 0.00 1,974.00
Checking # ******7768 332,100.00 0.00 318,000.00
$1,847,374.47 $88,670.87 $1,758,703.60

 

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PO Box 6010

Santa Maria, CA 93456-6010
www.RabobankAmerica.com
Rabobank — Return Service Requested

   

Period Covered:
June 01, 2017 - June 30, 2017

 

 

 

 

Page 1 of 8
David W. Carickhoft Case Number 17-10679
300 Delaware Ave Case Name MAD CATZ. INC. Debtor
Suite 1100 Trustee Number
Wilmington DE 19801 Trustee Name David W. Carickhoff | rustee
Ke Questions
(800) 634-7734
banking@bmsadvantage.com
www.bmsadvantage.com
CONSOLIDATED BALANCE SUMMARY
Ending Balance Ending Balance
Account Number Prior Period This Period
Checking Account
TRUSTEE CHECKING 7766 $27,167.97 $1,441,414.60
TRUSTEE CHECKING 7767 $1,974.00 $1,974.00
TRUSTEE CHECKING 7768 $0.00 $368,000.00
Total $29,141.97 $1,811,388.60

Notable Information For You...

To protect your banking security, we recommend you conduct periodic audits to make sure challenge
questions are complete and banking permissions are up to date for all staff members using the
CaseLink and TrustWorks software systems. Challenge questions have been put in place to confirm
your identity to the BMS Banking Center and the Rabobank banking team, and allow only authorized
staff members to access your bank information. Knowing your challenge questions and answers will
help you avoid any banking transaction delays. If you have any questions, please contact the BMS
Banking Center by email or by phone at 800-634-7734.

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PO Box 6010
Santa Maria, CA 93456-6010
www.RabobankAmerica.com

Return Service Requested

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{  NMLS #640477

David W. Carickhoff
300 Delaware Ave
Suite 1100
Wilmington DE 19801

Period Covered:
June 01, 2017 - June 30, 2017
Page 2 of 8

17-10679
MAD CATZ. INC. Debtor

Case Number
Case Name

Trustee Number
Trustee Name David W. Carickhoff Trustee
Xe Questions
(800) 634-7734
banking@bmsadvaniage.com
www.bmsadvantage.com

 

 

 

 

 

 

 

 

 

TRUSTEE CHECKING Account Number: 7766
Enclosures 7 Beginning Balance $27,167.97
Avg Collected Balance $367 584.00 + Total Additions $1,479,722.18
- Total Subtractions $65,475.55
Ending Balance $1,441,414.60
* Indicates a Skip in Check Number(s)
Checks "E" Indicates an Electronic Check
Check # Date Amount Check # Date Amount
104 06-28 6,617.50 105 06-30 58,394.25
Debits
Date Description Subtractions
06-30 BANK & TECH FEE 463.80
Credits
Date Description Additions
06-12 DEPOSIT 100015 452.04
06-13 DEPOSIT 100016 52.33
06-18 DEPOSIT 100017 1,650.77
06-23 WIRE TRANSFER-IN CRG WIP COMMERCIAL 2017062311B7032R01 4731 965,913.36
06-26 WIRE TRANSFER-IN FAST TRACK GLOBAL 20170626B1QGC01C00 3553 495,900.00
06-28 INTERNET/PHONE TRSFR TRANSFER FROM DEPOSIT SYSTEM ACCOUNT ******7768 14,100.00
06-28 DEPOSIT 100019 624.00
06-29 DEPOSIT 100020 1,029.68
Daily Balances
Date Amount Date Amount Date Amount
05-31 27,167.97 06-23 995,236.47 06-29 1,600,272.65
06-12 27,620.01 06-26 1,491,136.47 06-30 1,441,414.60

06-13

29,323.11 06-28

1,499,242.97

280150 788
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Ve Jacte2
BBL UBMLUSS

PO Box 6010
Santa Maria, CA 93456-6010
www.RabobankAmerica.com

Rabobatik Return Service Requested

   

David W. Carickhoff Case Number
300 Delaware Ave Case Name
Suite 1100 Trustee Number
Wilmington DE 19801 Trustee Name

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Period Covered:
June 01, 2017 - June 30, 2017

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17-10679

MAD CATZ. INC. Debtor

David W. Carickhoff Trustee

&. Questions

(800) 634-7734
banking@bmsadvantage.com
www.bmsadvantage.com

 

TRUSTEE CHECKING Account Number: 7767
Enclosures 0 Beginning Balance $1,974.00
Avg Collected Balance $1,974.00 + Total Additions $0.00
- Total Subtractions $0.00

Ending Balance $1,974.00

**No activity this statement period*™*

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RabobMASQnLA-10679-LSS

PO Box 6010
Santa Maria, CA 93456-6010
www.RabobankAmerica.com

Rabobank Return Service Requested

  

NMLS 8640477

 

Period Covered:
June 01, 2017 - June 30, 2017
Page 5 of 8

17-10679
MAD CATZ. INC. Debtor

Case Number
Case Name
Trustee Number
Trustee Name

David W. Carickhoff
300 Delaware Ave
Suite 1100

Wilmington DE 19801 David W. Carickhoff Trustee

os Questions

(800) 634-7734
banking@bmsadvantage.com
www.bmsadvantage.com

 

TRUSTEE CHECKING Account Nun 7768
Enclosures 6 Beginning Balance $0.00
Avg Coliected Balance $319,375.00 + Total Additions $439,348.20
- Total Subtractions $71,348.20

Ending Balance $368,000.00

* Indicates a Skip in Check Number(s)

 

 

 

 

 

 

 

 

Checks "E" Indicates an Electronic Check
Check # Date Amount Check # Date Amount Check # Date Amount

900 06-27 2,223.00 902 06-28 2,490.00 905* 06-29 1,100.00

901 06-28 7,652.30 903 06-26 43,782.90
Debits
Date Description Subtractions
06-28 TRANSFER DEBIT TRANSFER TO DEPOSIT SYSTEM ACCOUNT ******7766 14,100.00
Credits
Date Description Additions
06-08 WIRE TRANSFER-IN EDUARDO P GALVAN 20170608QMGFTO0600 0824 2,223.00
06-08 WIRE TRANSFER-IN WORLD INTERNATIONA 20170608F6B7042C00 0315 7,652.30
06-12 WIRE TRANSFER-IN LOGITECH INCBANK © 20170612B6B7HU1R01 0664 4,100.00
06-12 WIRE TRANSFER-IN PERFORMANCE DESIGN 20170612B1Q9282C00 4762 2,490.00
06-12 WIRE TRANSFER-IN 1/DEVICE EXPERT IN 20170612B6B7001C00 3321 14,100.00
06-12 WIRE TRANSFER-IN ANKER TECH CO LTDD 20170612B1Q8021C00 7743 30,000.00
06-12 WIRE TRANSFER-IN NASOUR! BROS INCRE 2017061211B7031R00 9021 43,782.90
06-12 WIRE TRANSFER-IN HYPER MICROSYSTEMS 20170612G1QG750C00 4822 50,000.00
06-12 WIRE TRANSFER-IN CLICK ENTERTAINMEN 20170612MMQFMPEC00 3125 238,000.00
06-13 DEPOSIT 100001 50,000.00
Daily Balances
Date Amount Date Amount Date Amount
06-08 9,875.30 06-13 439,348.20 06-27 393,342.30
06-12 389,348.20 06-26 395,565.30 06-28 369,100.00

280150 788
VSL UMEVUGEC

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Santa Maria, CA 93456-6010
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Rabobank — Return Service Requested

 

Daily Balances (Continued)

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Account Number 7768
Period Covered:

June 01, 2017 - June 30, 2017
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Date Amount
06-29 368,000.00

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